                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                  No. CR 06-0009
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
 EDDIE RASK,                                        RECOMMENDATION
                                                CONCERNING DEFENDANT’S
                 Defendant.                            GUILTY PLEA
                                  ____________________


                        I. INTRODUCTION AND BACKGROUND
         On February 8, 2006, a one-count Indictment was returned against the defendant
Eddie Rask. On March 29, 2006, the defendant appeared before United States Magistrate
Judge John A. Jarvey and entered a plea of guilty to Count 1 of the Indictment. On March
29, 2006, Judge Jarvey filed a Report and Recommendation in which he recommended that
defendant’s guilty plea be accepted.        No objections to Judge Jarvey's Report and
Recommendation were filed. The court, therefore, undertakes the necessary review of
Judge Jarvey's recommendation to accept defendant’s plea in this case.


                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the
                findings or recommendations made by the magistrate [judge].


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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Jarvey's findings and conclusions, that there is no ground to reject or modify
them. Therefore, the court accepts Judge Jarvey's Report and Recommendation of March
29, 2006, and accepts defendant’s plea of guilty in this case to Count 1 of the Indictment.
       IT IS SO ORDERED.
       DATED this 13th day of April, 2006.




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